Case 1:21-cr-00222-TFH Document 18-18 Filed 04/20/21 Page 1of1

Kate Fox

April 2™, 2021
TO: The Judge presiding in the case of Julian Elie Khater

Dear Sir/Madam,

My name is Kate Fox. I am Julian's aunt and so have known him all his life, visiting his family
regularly, I am an anthropologist and author.

Julian always gituck me as a kind, considerate and serious person. To my knowledge, be has
never previously engaged in violence of any kind at all, Quite the opposite: even ag a child and
teenager, he was remarkably gentle and thoughtful - a peacckeeper and mediator, uot 2 fighter.
(have health problems, and it was always Julian who noticed when I wes getting tired or
struggling with something, always Julian who jumped to offer help.

As he grew up, Julian increasingly longed to do something meaningful with his life, to make a
difference, Ee has a strong sense of duty, and his ambition was to join the Sheciif's department.
But for his career offering him other opportunities at that time, he would now be a menrber of
the Sheriff's department, serving and protecting his community.

Please do not hesitate to contact ne if there is anything more I can do to help you.

Yours sincerely,
Kate Fox

 

 
